                                                                   66 / 33
Case 5:04-cr-04118-MWB-LTS   Document 86   Filed 07/29/05   Page 1 of 8
Case 5:04-cr-04118-MWB-LTS   Document 86   Filed 07/29/05   Page 2 of 8
Case 5:04-cr-04118-MWB-LTS   Document 86   Filed 07/29/05   Page 3 of 8
Case 5:04-cr-04118-MWB-LTS   Document 86   Filed 07/29/05   Page 4 of 8
Case 5:04-cr-04118-MWB-LTS   Document 86   Filed 07/29/05   Page 5 of 8
Case 5:04-cr-04118-MWB-LTS   Document 86   Filed 07/29/05   Page 6 of 8
Case 5:04-cr-04118-MWB-LTS   Document 86   Filed 07/29/05   Page 7 of 8
Case 5:04-cr-04118-MWB-LTS   Document 86   Filed 07/29/05   Page 8 of 8
